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     ,WLVSO ORDERED.

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                                                United States District Judge




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